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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA




United States of America,                                  Criminal No. 06-08 (1) (RHK/RLE)

                       Plaintiff,                                      ORDER

vs.

Adam Joseph Monnes,

                       Defendant.




       Defendant’s Motion for Extension of Time to file objections to the presentence report and

position pleadings in this matter is GRANTED. Said Objections should be filed on or before October

6, 2006 and the position pleadings on or before October 13, 2006.

Dated: September 20, 2006

                                                      s/Richard H. Kyle
                                                      RICHARD H. KYLE
                                                      United States District Judge
